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                          UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF PENNSYLVANIA

 In Re:                                               Chapter 13
          Maurice L. Thomas
                                                      Bankruptcy No. 22-12755-PMM

                              Debtor

                          ORDER DISMISSING CHAPTER 13 CASE

          AND NOW, after notice and hearing, it is ORDERED that the case is DISMISSED.

      IT IS FURTHER ORDERED that any wage order entered in this case is hereby
 TERMINATED and the employer shall cease wage withholding immediately.




Date: February 23, 2023
                                               PATRICIA M. MAYER
                                               U.S. BANKRUPTCY JUDGE
